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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

IN RE:                                               §             CHAPTER 11
                                                     §
LUCA INTERNATIONAL GROUP, L.L.C.                     §             CASE NO. 15-34221-H2-11
et al.,                                              §
                                                     §             JOINTLY ADMINISTERED
         Debtors. 1                                  §

              SUPPLEMENTAL DEPOSITION DESIGNATIONS – JOHN CHU

         COMES NOW, Meiyu You aka Meiyu “Shelley” You (“Shelley”) and provides this, her
Supplemental Deposition Designations of John Chu and designates as follows:
         Supplemental designations from the deposition of John Chu, dated July 12, 2017.
Page:Line

75:15-25        (listed as a designation in the initial deposition designations served on counsel for
                the Liquidating Trustee on July 17, 2017).
         Shelley reserves the right and ability to use the deposition of John Chu through in cross
examination, rebuttal, or impeachment.

                                                  Respectfully submitted,

                                                   /s/ H. Brandon Jones
                                                  H. Brandon Jones
                                                  Texas Bar I.D. No. 24060043
                                                  BONDS ELLIS EPPICH SCHAFER JONES LLP
                                                  420 Throckmorton Street, Suite 1000
                                                  Fort Worth, TX 76102
                                                  Telephone: (817) 405-6900
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                                                  Brandon@bondsellis.com




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 The Debtors in these cases are: Luca International Group, LLC; Luca Operation, LLC; Luca International Group
(Texas), LLC; Luca Barnet Shale Joint Venture, LLC; Luca Energy Fund, LLC; Luca Energy Resources, LLC; Luca
Resources Group, LLC; Luca I, LP; Luca II, LP; Luca Oil, LLC; Luca To-Kalon Energy, LLC; Luca Oil III Joint
Venture (collectively the “Debtors”).

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this the 6th day of August 2017, a copy of the foregoing document
was served on all parties via the Court’s ECF system.



                                            /s/ H. Brandon Jones
                                            H. Brandon Jones




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